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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                    )
                                                             )                8:12CR147
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
TOMAS JUAREZ-LOPEZ,                                          )
                                                             )
                          Defendant.                         )


        This matter is before the court on the motion for an extension of time by defendant Tomas Juarez-Lopez
(Juarez-Lopez) (Filing No. 31). Juarez-Lopez seeks an additional twenty-one days in which to file pretrial
motions in accordance with the progression order. Juarez-Lopez has filed an affidavit wherein he consents to
the motion and acknowledges he understands the additional time may be excludable time for the purposes of
the Speedy Trial Act (Filing No. 38). Upon consideration, the motion will be granted.


        IT IS ORDERED:
        Defendant Juarez-Lopez's motion for an extension of time (Filing No. 31) is granted. Juarez-Lopez is
given until on or before July 11, 2012, in which to file pretrial motions pursuant to the progression order. The
ends of justice have been served by granting such motion and outweigh the interests of the public and the
defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time

between June 19, 2012, and July 11, 2012, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B)


        DATED this 19th day of June, 2012.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
